Case 8:11-cv-00301-DOC-VBK            Document 132        Filed 01/29/13      Page 1 of 1 Page ID
                                           #:1744
                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                        CIVIL MINUTES REOPENING/CLOSING

 Case No. SACV 11-00301-CJC(VBKx)                                     Date: January 29, 2013

 Title: Yassir Fazaga, et al., v. Federal Bureau of Investigation, et al.

 Present: THE HONORABLE CORMAC J. CARNEY, U.S. DISTRICT JUDGE

               Michelle Urie                               Not Reported
               Deputy Clerk                               Court Reporter

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 Attorneys for Plaintiff                                      Attorneys for Defendant

 None Present                                                         None Present

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 Proceedings:            G In Court            X In Chambers          G Counsel Notified

 G      Case previously closed in error. Make JS-5.

 X      Case should have been closed on entry dated November 2, 2012 [123].
        Make JS-6.

 G      Case settled but may be reopened if settlement is not consummated within
        days. Make JS-6.

 G      Other

 G      Entered                               .


 CV-74 (08/97)                                        Initials by Deputy Clerk         mu
